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July 16, 2019

The Honorable Jesse M. Furman
Thurgood Marshall U.S. Courthouse
United States District Court for the Southern District of New York
40 Centre Street, Room 2202
New York, NY 10007

       RE:      Plaintiffs’ letter-motion for entry of judgment in State of New York, et al. v. U.S.
                Dep’t of Commerce, et al., 18-CV-2921 (JMF).

Dear Judge Furman,

       Plaintiffs write pursuant to Fed. R. Civ. P. 58 and Rules 3(A) and 3(K) of this Court’s
Individual Rules and Practices to request that the Court enter the attached proposed order.
Defendants do not oppose this motion.

        On June 27, 2019, the Supreme Court affirmed this Court’s judgment that Secretary
Ross’s decision to add a citizenship question to the 2020 decennial census should be set aside
and remanded because it rested on a pretextual basis. Dep’t of Commerce v. New York, No. 18-
966, slip op. 23-29 (June 27, 2019). On July 11, 2019, the President issued an Executive Order
stating that “[a]fter examining every possible alternative, the Attorney General and the Secretary
of Commerce have informed me that the logistics and timing for carrying out the census,
combined with delays from continuing litigation, leave no practical mechanism for including the
[citizenship] question on the 2020 decennial census.” Exec. Order 13,880, § 1, 84 Fed. Reg.
33,821, 33,821 (July 16, 2019) (“The [Supreme] Court’s ruling . . . has now made it impossible,
as a practical matter, to include a citizenship question on the 2020 decennial census
questionnaire.”).

        Accordingly, the parties have negotiated the language of the attached proposed order
permanently enjoining Defendants from including a citizenship question on the 2020 decennial
census questionnaire; from delaying the process of printing the 2020 decennial census
questionnaire after June 30, 2019 for the purpose of including a citizenship question; and from
asking persons about citizenship status on the 2020 census questionnaire or otherwise asking a
citizenship question as part of the 2020 decennial census.

                                       Respectfully submitted,

                                       LETITIA JAMES
                                       Attorney General of the State of New York

                                       By: /s/ Matthew Colangelo
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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


  STATE OF NEW YORK, et al.,

                         Plaintiffs,

              v.                                       18-CV-2921 (JMF)

  UNITED STATES DEPARTMENT
  OF COMMERCE, et al.,

                         Defendants.



                                       [PROPOSED] ORDER

       1.      Defendants, including the Secretary of Commerce in his official capacity, the

Director of the Census Bureau in his official capacity, and any successors to those offices,

together with their agents, servants, employees, attorneys, and other persons who are in active

concert or participation with the foregoing (“Enjoined Persons”), see Fed. R. Civ. P. 65(d)(2), are

PERMANENTLY ENJOINED from including a citizenship question on the 2020 decennial

census questionnaire; from delaying the process of printing the 2020 decennial census

questionnaire after June 30, 2019 for the purpose of including a citizenship question; and from

asking persons about citizenship status on the 2020 census questionnaire or otherwise asking a

citizenship question as part of the 2020 decennial census.

       2.      Upon entry of judgment, Plaintiffs will withdraw as moot their Motion to Amend

Judgment on Remand Pursuant to Rule 59(e), or for Injunctive Relief Pursuant to the All Writs

Act.

       3.      The Court will retain jurisdiction in this case to enforce the terms of this Order

until the 2020 census results are processed and sent to the President by December 31, 2020.
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     SO ORDERED.

Dated: ____________________            __________________________________
       New York, New York                      JESSE M. FURMAN
                                             United States District Judge
